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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


GLADYCE HONSINGER,                             )
                                               )
                                Plaintiff,     )
                                               )
v.                                             )
                                               )
REECE & NICHOLS REALTORS, INC.                 )     JURY TRIAL DEMANDED
                                               )
And                                            )
                                               )
HOMESERVICES OF AMERICA, INC.,                 )
                                               )
                                Defendants.    )

                                   PLAINTIFF’S COMPLAINT

       Plaintiff, Gladyce Honsinger, states and alleges the following against defendants Reece

and Nichols, Inc. and Home Services of America, Inc.

                                NATURE OF THE COMPLAINT

       1.         This is an action for legal and equitable relief brought under the Age

Discrimination in Employment Act, 29 U.S.C. §§ 621 et seq., and Kansas Age Discrimination in

Employment Act (“KADEA”), K.S.A. 44-1111 et seq.

       2.         Ms. Honsinger was terminated because of her age.

       3.         The unlawful conduct of the defendants deprived Ms. Honsinger of her

employment and directly resulted in the significant loss of financial compensation and other

benefits which she would have earned and been entitled to but for the discrimination alleged in

this complaint.

                                              PARTIES

       4.         Ms. Honsinger is a 69-year-old American female and USA citizen domiciled in

Jackson County, Missouri.
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       5.       ReeceNichols is a Berkshire Hathaway affiliate that employs real estate agents in

at least 28 branch offices and 29 franchise offices across Kansas and Missouri. ReeceNichols

corporate headquarters is in Leawood, Kansas, and it employs at least 200 employees.

       6.       HomeServices of America, Inc. is a Berkshire Hathaway affiliate, purportedly

headquartered in Minneapolis, Minnesota. It employs at least 500 employees. According to

Home Services of America’s website, “We are our companies,” which includes ReeceNichols.

       7.       HomeServices of America, Inc. (i) has the power to hire and fire employees of

ReeceNichols; (ii) supervised and controlled the work schedule and conditions of work for

employees of ReeceNichols; (iii) determined the rate and method of payment of employees of

ReeceNichols; (iv) used ReeceNichols equipment and premises for employee work. Home

Services of America acts directly in the interest of ReeceNichols and was actively involved in

the discriminatory conduct.

       8.       HomeServices of America was responsible for establishing and training

employees of ReeceNichols, investigating complaints, and disciplining employees of

ReeceNichols.

       9.       HomeServices of America and ReeceNichols share employees, policies and

procedures, and business records are assessable between the organizations.

       10.      Involuntary terminations by ReeceNichols must be approved by Home Services of

America under the relevant employment policies.

       11.      HomeServices of America human resources policies is provided to ReeceNichols

employees.

       12.      Plaintiff was paid by “HomeServices of America.”




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        13.       Plaintiff’s performance appraisals are conducted on HomeServices of America

documents.

        14.       Both HomeServices of America and ReeceNichols employed and shared plaintiff,

jointly determined the essential terms of plaintiff’s employment, and jointly exercised significant

control over plaintiff.

        15.       Both companies share common management, have common ownership and

financial control, have interrelated operations, and a centralized control of labor relations.

Further, they could constitute, among other things, a “single employer” or “joint employer”

under the ADEA. Accordingly, both are collectively referred to herein as “ReeceNichols” or

“company,” or “defendants.”

        16.       HomeServices of America and ReeceNichols are authorized to do business in

Kansas. They are an “employer” as defined by the ADEA because they engage in an industry

affecting commerce and had twenty or more employees for each working day in at least twenty

or more calendar weeks in every year of plaintiff’s employment with them.

        17.       Plaintiff was employed by defendants and worked at its office at 11601 Granada

Lane, Leawood, Kansas 66211. Defendants treated plaintiff as an employee as it related to

employment, compensation, taxes, and workers’ compensation.

                                   JURISDICTION AND VENUE

        18.       Plaintiff submits to the jurisdiction of this Court for the adjudication of the claims

alleged herein.

        19.       Defendants are generally subject to personal jurisdiction to Courts of Kansas

because it has consented to jurisdiction in Kansas by applying and receiving permission from the




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Kansas Secretary of State’s Office to do business in Kansas as a corporation and because

defendants conduct ongoing, substantial and continuous business in Kansas.

        20.      Defendants are subject to personal jurisdiction in this Court for the specific

purposes of this lawsuit because the acts and omissions alleged herein took place in Kansas,

within this Court’s territorial jurisdiction.

        21.      This Court has original subject matter jurisdiction over this case pursuant to 28

U.S.C. § 1331 because plaintiff’s claims arise under federal law.

        22.      The Court has supplemental jurisdiction over plaintiff’s state law claim under 28

U.S.C. § 1367.

        23.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to plaintiff’s claims occurred within this

District.

                               ADMINISTRATIVE PROCEDURES

        24.      On April 24, 2021, plaintiff filed a charge against defendants with the Equal

Employment Opportunity Commission, Charge No. 563-2021-01620/22, and Kansas Human

Rights Commission. See Exhibit. 1, attached and incorporated as if fully set forth herein.

        25.      On October 13, 2021, or shortly thereafter, the EEOC and KHRC issued plaintiff

a Notice of Right to Sue. See Ex. 2.

                                       FACTUAL SUPPORT

        26.      In 2001, plaintiff began working for defendants.

        27.      Plaintiff started as a real estate agent, and on May 16, 2016, became centralized

processing manager.

        28.      In February 2019, plaintiff became quality assurance manager.




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       29.     Her duties included reviewing real estate contracts to ensure they met all the

necessary requirements and complied with Missouri and Kansas law.

       30.     Plaintiff’s work performance, at all relevant times, was consistent with

defendants’ legitimate expectations, and she met or exceeded expectations and goals set. She

received positive feedback regarding her work performance at all relevant times.

       31.     Plaintiff was never disciplined for any unethical conduct.

       32.     Plaintiff has all the required qualifications for the work she performed for

defendants.

       33.     In 2018 or 2019, Mike Frazier became the CEO of ReeceNichols. Mr. Frazier

was simultaneously employed by and paid by Home Services of America, and acting in Home

Services’ interest.

       34.     Mr. Frazier and other management personnel discussed that they wanted to get rid

of older workers and replace them with younger workers.

       35.     Mr. Frazier and the company’s attorney discussed that they did not understand

why anyone would want to work over 70 years-old, and they thought there should be mandatory

retirement.

       36.     Mr. Frazier frequently made derogatory age-related remarks about female

employees.

       37.     For example, on occasion, he referred to female employees over 60 as

“dinosaurs.”

       38.     On an almost daily basis, he would make comments to older female employees

such as, “you are getting lines in your forehead, why don’t you get them filled,” “want to turn




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your hearing aids up,” “your gray is showing . . . need Ginkgo?,” “that is what happens to you

when you get old.”

         39.    Female employees over 60 were frequently asked about their retirement plans.

Mr. Frazier would comment: “When are they going to retire. Are they going to die at their

desk?”

         40.    If a female employee expressed that she intended to work for several more years,

the employee would be ostracized, given administrative tasks, forced to resign, and in some

cases terminated.

         41.    When Mr. Frazier became CEO, several female employees over 60 were forced to

retire, or effectively terminated.

         42.    Mr. Frazier commented that he “was glad to get rid of old dinosaurs like” the

female employees that were pushed out. Mr. Frazier further commented that the company

needed to get “young people in here” with “fresh thoughts,” and older workers were “not

relevant anymore” with “old ideas” that were “not fresh.”

         43.    The employees who were pushed out were replaced by younger workers.

         44.    Mr. Frazier would publicly make derogatory jokes about employees over 60 and

ask them questions about their age.

         45.    In December 2019, Mr. Frazier effectively terminated a 70-year-old employee and

chastised the employee for talking to a female employee with “gray hair.”

         46.    In November 2020, an employee complained to the company about age

discrimination.

         47.    The company took no action regarding the complaint.

         48.    On November 2, 2020, Mr. Frazier terminated plaintiff.




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        49.   The termination was in violation of Home Services employment policies.

        50.   Pushing out older workers is a pattern and practice by defendants.

        51.   Defendants made representations that plaintiff was terminated for financial

reasons. Those representations were false.

        52.   Similarly situated younger employees in plaintiff’s department were not

terminated.

        53.   Plaintiff was more qualified similarly than situated youngers in her department

who were not terminated.

        54.   Plaintiff’s job duties were given to significantly younger workers.       She was

effectively replaced by younger workers.

                                             COUNT I

                             ADEA and KADEA – Age Discrimination

                   (Against ReeceNichols and Home Services of America)

        55.   Plaintiff incorporates by reference every other allegation made herein.

        56.   Plaintiff is a qualified individual over the age of 40.

        57.   Plaintiff was qualified to perform the essential functions of her job and other

positions.

        58.   Plaintiff was treated differently and unfairly because of her age.

        59.   Plaintiff’s age was a motivating factor in defendant’s decision to terminate

plaintiff.

        60.   Plaintiff’s age is the reason that defendants terminated her.

        61.   The conduct alleged herein adversely affected the terms, conditions, or privileges

of plaintiff’s employment.




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        62.     Defendants were aware of the ADEA’s prohibition of age discrimination such that

defendant’s conduct was willful, entitling plaintiff to an award of liquidated damages.

        63.     Defendants’ conduct was outrageous, intentional, willful, or shows evil motive or

reckless indifference or conscious disregard for plaintiff’s rights and the rights of others;

therefore, defendants are liable for liquidated damages.

        64.     Defendants, through their agents and employees, engaged in discriminatory

practices with malice or reckless indifference to plaintiff’s federally protected rights. Defendants

are therefore liable for all damages available under the ADEA and KADEA.

        WHEREFORE, plaintiff prays for judgment against defendants on Count I of this

complaint, for a finding that plaintiff was subjected to unlawful discrimination; for monetary

losses, back pay, payment of wages owed, injunctive relief, declaratory judgment, liquidated

damages, equitable relief, front pay, costs expended, attorney and expert fees, pre-judgement and

post-judgement interest, for all other relief under the ADEA and KADEA that is available or

may become available, including compensatory, emotional distress and punitive damages, and

for such other and further relief the Court deems just and proper.

                                    Designated Place of Trial

        Plaintiff designates the United States District Court for the District of Kansas at Kansas

City as the place of trial.




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                                                    Respectfully submitted,

                                                    DCG LAW FIRM, LLC



                                                    By: /s/ Dione C. Greene
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                                                    ATTORNEYS FOR PLAINTIFF GLADYCE
                                                    HONSINGER


                                CERTIFICATE OF SERVICE

      I hereby certify that on January 7, 2022, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system.

                                                    /s/ Dione C. Greene
                                                    Attorney For Plaintiff Gladyce Honsinger




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